         Case 2:22-cv-00315 Document 5 Filed 01/14/22 Page 1 of 2 Page ID #:74


 1 Andrea F. Oxman (SBN 252646)
   andrea.oxman@jacksonlewis.com
 2 JACKSON LEWIS P.C.
   725 South Figueroa Street, Suite 2500
 3 Los Angeles, California 90017-5408
   Telephone: (213) 689-0404
 4 Facsimile: (213) 689-0430
 5 Alice E. Carranza Vega (SBN 328474)
   Alice.CarranzaVega@Jacksonlewis.com
 6 JACKSON LEWIS P.C.
   200 Spectrum Center Drive, Suite 500
 7 Irvine, California 92618
   Telephone: (949) 885-1360
 8 Facsimile: (949) 885-1380
 9
   Attorneys for Defendant
10 AMTRUST FINANCIAL SERVICES, INC.
11                               UNITED STATES DISTRICT COURT
12                              CENTRAL DISTRICT OF CALIFORNIA
13
14 KRISTI MOLNAR.                               Case No.: 2:22-cv-315
15                 Plaintiff,
16         vs.
                                                DEFENDANT AMTRUST
17 AMTRUST FINANCIAL SERVICES,                  FINANCIAL SERVICES, INC.’S
   INC, and DOES 1 THROUGH 25,                  CORPORATE DISCLOSURE
18 inclusive,                                   STATEMENT [FRCP 7.1]
19                 Defendants.                  [Filed concurrently with Notice of
                                                Removal; Civil Case Cover Sheet;
20                                              Declaration of Andrea F. Oxman;
                                                Declaration of Amy Hall; Notice of
21                                              Interested Parties]
22
                                                Complaint filed: October 21, 2021
23
24         TO THE HONORABLE CLERK OF THE UNITED STATES DISTRICT
25 COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA:
26         Federal Rule of Civil Procedure 7.1(a) provides: “A nongovernmental corporate
27 party must file two copies of a disclosure statement that: (1) identifies any parent
28 corporation and any publicly held corporation owning 10% or more of its stock; or (2)
     CASE NO.: 2:22-cv-315                                 CORPORATE DISCLOSURE STATEMENT
           Case 2:22-cv-00315 Document 5 Filed 01/14/22 Page 2 of 2 Page ID #:75



 1   states that there is no such corporation.” In accordance with Rule 7.1(a), the undersigned
 2   counsel of record for Defendant AMTRUST FINANCIAL SERVICES, INC. (“AFSI”)
 3   certifies as follows:
 4            AFSI is a Delaware corporation with its principal place of business in New York,
 5   New York. AFSI does not have a parent corporation and no publicly held company holds
 6   10% or more of AFSI’s stock.
 7
 8
 9   DATED: January 14, 2022                JACKSON LEWIS P.C.
10
11                                    By:   /s/ Alice E. Carranza Vega
12                                          ANDREA F. OXMAN
                                            ALICE E. CARRANZA VEGA
13
14                                          Attorneys for Defendant
                                            AMTRUST FINANCIAL SERVICES, INC.
15
     4859-1384-4489, v. 1
16
17
18
19
20
21
22
23
24
25
26
27
28



      CASE NO.: 2:22-cv-315                    2                CORPORATE DISCLOSURE STATEMENT
